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AO 442 (Rev. PEEL} Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Colum RE CE/ VED

By USMS District of Columbia District Court at 2:28 pm, May 27, 2025

United States of America

Vv. )
) Case: 1-25-mj-00089
eee ee ) Assigned To: Judge Sharbaugh, Matthew J

) Assign. Date: 5/21/2025

Description: COMPLAINT W/ARREST WARRANT

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) EMILY GABRIELLA SOMMER 5
who is accused of an offense or violation based on the following document filed with the court:

© Indictment 0 Superseding Indictment J Information ( Superseding Information % Complaint

O Probation Violation Petition " Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. § L11(a)(1) - Assaulting, Resisting, or Impeding A Government Official.

Date: 05/21/2025
Issuing officer's signature
City and state: Washington, D.C. Matthew J. Sharbaugh, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (dute) S/Q) Jas Ss , and the person was arrested on (date} as / 22z/2 =

at (city and state) Was hingten dC

Date: C/2 2/2 5 Yul bse

Arresting officer's signature

D. St a )imen- DUSM

Printed name and title

